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8                                     UNITED STATES DISTRICT COURT
9                                 EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                       No. 2:10-cr-00347-03-MCE
12                       Plaintiff,
13             v.                                    ORDER
14   TOREY DAVON MOORE,
15                       Defendant.
16

17             After hearing on a Final Revocation Proceeding of Supervised Release held on

18   September 15, 2016, the Court makes the following order.

19             The defendant shall abide by the following Standard Conditions of Supervision.

20             1. The defendant shall not leave the judicial district without permission of the

21   court or probation officer;

22             2. The defendant shall report to the probation officer in a manner and frequency

23   directed by the court or probation officer;

24             3. The defendant shall answer truthfully all inquiries by the probation officer and

25   follow instructions of the probation officer;

26             4. The defendant shall support his or her dependents and meet other family

27   responsibilities;

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1           5. The defendant shall work regularly at a lawful occupation unless excused by
2    the probation officer for schooling, training or other acceptable reasons;
3           6. The defendant shall notify the probation officer ten days prior to any change in
4    residence or employment;
5           7. The defendant shall refrain from excessive use of alcohol;
6           8. The defendant shall not frequent places where controlled substances are
7    illegally sold, used, distributed, or administered;
8           9. The defendant shall not associate with any persons engaged in criminal
9    activity, and shall not associate with any person convicted of a felony unless granted
10   permission to do so by the probation officer;
11          10. The defendant shall permit a probation officer to visit him or her at any time at
12   home or elsewhere, and shall permit confiscation of any contraband observed in plain
13   view by the probation officer;
14          11. The defendant shall notify the probation officer within seventy-two hours of
15   being arrested or questioned by a law enforcement officer;
16          12. The defendant shall not enter into any agreement to act as an informer or a
17   special agent of a law enforcement agency without the permission of the court;
18          13. As directed by the probation officer, the defendant shall notify third parties of
19   risks that may be occasioned by the defendant’s criminal record or personal history or
20   characteristics, and shall permit the probation officer to make such notifications and to
21   confirm the defendant’s compliance with such notification requirement.
22          The defendant shall abide by the following Special Conditions of Supervision.
23          1. The defendant shall submit to the search of his person, property, home, and
24   vehicle by a United States probation officer, or any other authorized person under the
25   immediate and personal supervision of the probation officer, based upon reasonable
26   suspicion, without a search warrant. Failure to submit to a search may be grounds for
27   revocation. The defendant shall warn any other residents that the premises may be
28   subject to searches pursuant to this condition.
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1              2. The defendant shall provide the probation officer with access to any requested
2    financial information
3              3. As directed by the probation officer, the defendant shall participate in an
4    outpatient correctional treatment program to obtain assistance for drug or alcohol abuse.
5              4. As directed by the probation officer, the defendant shall participate in a
6    program of testing (i.e. breath, urine, sweat patch, etc.) to determine if he has reverted to
7    the use of drugs or alcohol.
8              5. As directed by the probation officer, the defendant shall participate in a co-
9    payment plan for treatment or testing and shall make payment directly to the vendor
10   under contract with the United States Probation Office of up to $25 per month.
11             6. The defendant shall register, as required in the jurisdiction in which he resides,
12   as a drug offender.
13             7. The defendant shall participate in a cognitive behavioral treatment program as
14   directed by the probation officer.
15             8. The defendant shall be monitored for a period of 6 months, with location
16   monitoring technology, which may include the use of radio frequency (RF) or Global
17   Positioning System (GPS) devices, at the discretion of the probation officer. The
18   defendant shall abide by all technology requirements and shall pay the costs of location
19   monitoring based upon their ability to pay as directed by the probation officer. In
20   addition to other court-imposed conditions of release, the defendant's movement in the
21   community shall be restricted as follows:
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1                 a. The defendant shall be restricted to his residence at all times except for
2    employment; education; religious services; medical, substance abuse, or mental health
3    treatment; attorney visits; court appearances; court-ordered obligations; or other
4    activities as pre-approved by the probation officer; (Home Detention).
5

6          IT IS SO ORDERED.
7    DATED: September 15, 2016
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9                                         _____________________________________________
                                          MORRISON  N C. ENGLLAND, JR, C
                                                                       CHIEF JUDG  GE
10                                        UNITED ST TATES DISSTRICT COU  URT
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